      Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 1 of 13 PAGEID #: 330




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 M&C HOLDINGS DELAWARE                              Case No. 1:20-cv-00121-SJD-KLL
 PARTNERSHIP, et al.,
                                                    Judge Susan J. Dlott
         Plaintiffs,
                                                    Magistrate Judge Karen L. Litkovitz
 v.

 GREAT AMERICAN INSURANCE
 COMPANY,

         Defendant.


                 DEFENDANT GREAT AMERICAN INSURANCE COMPANY’S
                        ANSWER AND AFFIRMATIVE DEFENSES


         Defendant Great American Insurance Company (“GAIC” or “Defendant”), by and through

its undersigned attorneys, files the following answer and affirmative defenses to the Complaint of

plaintiffs M&C Holdings Delaware Partnership, M&C Hotel Interests, Inc., M&C Management

Services (USA), Inc., CDL Hotels (USA), Inc., and RHM-88, LLC (collectively, “Millennium” or

“Plaintiffs”).

         1.       GAIC admits that Millennium owns and operates hotels in the United States and

that it procured a Crime Protection Policy from GAIC. GAIC is without knowledge or information

sufficient to form a belief as to the truth of the remainder of the allegations of paragraph 1 of the

Complaint.

         2.       GAIC admits the allegations contained in the first sentence of paragraph 2 of the

Complaint. GAIC denies the allegations contained in the second paragraph of paragraph 2 of the

Complaint.

         3.       GAIC denies the allegations contained in paragraph 3 of the Complaint.
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 2 of 13 PAGEID #: 331




       4.      GAIC denies the allegations contained in paragraph 4 of the Complaint.

       5.      GAIC denies the allegations contained in paragraph 5 of the Complaint.

       6.      GAIC denies the allegations contained in paragraph 6 of the Complaint except

admits that the Complaint purports to bring claims for breach of contract, bad faith denial of

coverage and a claim for declaratory judgment.

                                           PARTIES

       7.      GAIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 7 of the Complaint.

       8.      GAIC is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph 8 of the Complaint.

       9.      GAIC is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph 9 of the Complaint.

       10.     GAIC is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph 10 of the Complaint.

       11.     GAIC is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph 11 of the Complaint.

       12.     GAIC admits the allegations contained in paragraph 12 of the Complaint except to

state that allegations as to its principal place of business state legal conclusions to which no

response is required.

                                JURISDICTION AND VENUE

       13.     Paragraph 13 of the Complaint asserts legal conclusions to which no response is

required.




                                                 2
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 3 of 13 PAGEID #: 332




       14.     Paragraph 14 of the Complaint asserts legal conclusions to which no response is

required.

       15.     Paragraph 15 of the Complaint asserts legal conclusions to which no response is

required.

                                 FACTUAL BACKGROUND

       16.     GAIC admits the allegations contained in paragraph 16 of the Complaint.

       17.     GAIC admits the allegations contained in paragraph 17 of the Complaint.

       18.     GAIC admits the allegations contained in paragraph 18 of the Complaint.

       19.     GAIC admits that Wayne Merdis (“Merdis”) was an employee of one the

Millennium entities and that he employed a scheme to steal money. GAIC denies that Merdis’s

scheme solely or mostly involved the theft of funds from Millennium, but rather involved mostly

the theft of funds Millennium owed to third-party travel agencies.

       20.     GAIC admits the allegations of paragraph 20 except states that the majority of

Merdis’s fraud involved the diversion of commissions owed in connection with legitimate

bookings originally made by third-party travel agencies that Merdis instead transferred to the

Fictitious Agencies.

       21.     GAIC admits that Millennium made payments, either directly or indirectly, to the

Fictitious Agencies. GAIC is without knowledge or information sufficient to form a belief as to

the truth of the remainder of the allegations contained in paragraph 21 of the Complaint.

       22.     GAIC is without knowledge or information sufficient to form a belief as to the first

sentence of paragraph 22 of the Complaint. GAIC denies the allegations contained in the second

sentence of paragraph 22 of the Complaint.

       23.     GAIC denies the allegations contained in paragraph 23 of the Complaint.




                                                3
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 4 of 13 PAGEID #: 333




       24.     GAIC admits the allegations contained in paragraph 24 of the Complaint.

                                            The Policy

       25.     GAIC admits the allegations contained in paragraph 25 of the Complaint.

       26.     GAIC admits that a copy of the Policy is attached to the Complaint as Exhibit A.

GAIC admits that paragraph 26 of the Complaint purports to describe the general terms of the

Policy, and GAIC refers to the Policy for its full content, meaning and import.

       27.     GAIC admits that Millennium gave notice of a loss, at one point demanded payment

of $1,954,329.13 and that it submitted a proof of loss after GAIC agreed to several extensions of

time to do so. GAIC denies the remainder of the allegations contained in paragraph 27 of the

Complaint.

       28.     GAIC denies the allegations contained in paragraph 28 of the Complaint.

       29.     GAIC denies the allegations contained in paragraph 29 of the Complaint.

       30.     GAIC denies the allegations contained in paragraph 30 of the Complaint.

       31.     Paragraph 31 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       32.     Paragraph 32 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       33.     GAIC admits that paragraph 33 of the Complaint purports to quote a provision in

the Policy and refers thereto for its content, meaning and import. GAIC denies that the quoted

provision of the Policy or the Policy is “on Form 087334.” GAIC states that the remainder of the

allegations of paragraph 33 of the Complaint assert legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.




                                                 4
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 5 of 13 PAGEID #: 334




       34.     GAIC admits that paragraph 34 of the Complaint purports to interpret the Policy.

GAIC denies the import of that interpretation and states that the allegations of paragraph 34 of the

Complaint assert legal conclusions to which no response is required. To the extent a response is

required, the allegations are denied.

       35.     GAIC denies the allegations contained in paragraph 35 of the Complaint.

       36.     GAIC admits that it has acknowledged that Merdis was an employee of Millennium

who employed a dishonest scheme that resulted in the transfer of funds to himself and/or entities

he controlled. GAIC denies the remainder of the allegations contained in paragraph 36 of the

Complaint.

       37.     Paragraph 37 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       38.     Paragraph 38 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       39.     GAIC admits paragraph 39 of the Complaint purports to refer to a letter dated

December 17, 2019, denies the import the Complaint attaches to it, and refers to the document for

its full content, meaning and import.

       40.     GAIC admits that paragraph 40 of the Complaint purports to refer to a letter dated

December 17, 2019, denies the import the Complaint attaches to it, and GAIC refers to that

document for its full content, meaning and import.

       41.     GAIC admits that paragraph 41 of the Complaint purports to refer to a letter dated

December 17, 2019, denies the import the Complaint attaches to it, and refers to that document for

its full content, meaning and import. GAIC states that the second sentence of paragraph 41 of the




                                                 5
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 6 of 13 PAGEID #: 335




Complaint asserts legal conclusions to which no response is required. To the extent a response is

required, the allegations are denied.

       42.     GAIC admits that paragraph 42 of the Complaint purports to refer to a letter dated

December 17, 2019, denies the import the Complaint attaches to it, and refers to that document for

its full content, meaning and import.

       43.     GAIC admits that paragraph 43 purports to describe the Policy, denies the import

the Complaint attaches to it, and refers to that document for its full content, meaning and import.

       44.     GAIC states that paragraph 44 of the Complaint asserts legal conclusions to which

no response is required. To the extent a response is required, the allegations of paragraph 44 of

the Complaint are denied.

       45.     GAIC states that paragraph 45 of the Complaint asserts legal conclusions to which

no response is required. To the extent a response is required, the allegations of paragraph 45 of

the Complaint are denied.

       46.     GAIC states that paragraph 46 of the Complaint asserts legal conclusions to which

no response is required. To the extent a response is required, the allegations of paragraph 46 of

the Complaint are denied.

       47.     GAIC admits that paragraph 47 of the Complaint purports to refer to a letter dated

January 31, 2019, denies the import the Complaint attaches to it, and refers to that document for

its full content, meaning and import.

       48.     GAIC admits that the first two sentences of paragraph 48 of the Complaint purport

to refer to a letter dated January 31, 2019, denies the import the Complaint attaches to it, and refers

to that document for its full content, meaning and import. GAIC denies the remaining allegations

contained in paragraph 48 of the Complaint.




                                                  6
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 7 of 13 PAGEID #: 336




        49.     GAIC denies the allegations contained in paragraph 49 of the Complaint.

                                                 COUNT I
                                            (Breach of Contract)

        50.     GAIC incorporates all of the its foregoing responses to all of the foregoing

allegations as if fully set forth herein.

        51.     GAIC states that paragraph 51 of the Complaint purports to describe the terms of

Policy, and GAIC refers to the Policy for its full meaning, content and import.

        52.     GAIC admits that Millennium paid premiums pursuant to the Policy. GAIC denies

the remainder of the allegations of paragraph 52 of the Complaint.

        53.     GAIC states that paragraph 53 of the Complaint asserts legal conclusions to which

no response is required. To the extent a response is required, the allegations are denied.

        54.     GAIC states that paragraph 54 of the Complaint asserts legal conclusions to which

no response is required. To the extent a response is required, the allegations are denied.

        55.     GAIC denies the allegations contained in paragraph 55 of the Complaint.

        WHEREFORE, defendant Great American Insurance Company respectfully requests that

the Court enter judgment in its favor and dismiss the Complaint herein with prejudice, and provide

such other and relief that the Court deems just, equitable and proper.

                                             COUNT II
                                   (Bad Faith Denial of Coverage)

        56.     GAIC incorporates all of the its foregoing responses to all of the foregoing

allegations as if fully set forth herein.

        57.     GAIC denies the allegations contained in paragraph 57 of the Complaint.

        58.     GAIC denies the allegations contained in paragraph 58 of the Complaint.

        59.     GAIC denies the allegations contained in paragraph 59 of the Complaint.




                                                     7
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 8 of 13 PAGEID #: 337




        60.       GAIC admits that it determined that a portion of Millennium’s claim did not

constitute a “loss” under the Policy.           GAIC denies that this determination was “without

justification.”

        61.       GAIC denies the allegations contained in paragraph 61 of the Complaint.

        62.       GAIC denies the allegations contained in paragraph 62 of the Complaint.

        63.       GAIC denies the allegations contained in paragraph 63 of the Complaint.

        64.       GAIC denies the allegations contained in paragraph 64 of the Complaint.

        65.       GAIC denies the allegations contained in paragraph 65 of the Complaint.

        66.       GAIC denies the allegations contained in paragraph 66 of the Complaint.

        WHEREFORE, defendant Great American Insurance Company respectfully requests that

the Court enter judgment in its favor and dismiss the Complaint herein with prejudice, and provide

such other and relief that the Court deems just, equitable and proper.

                                                COUNT III
                                            (Declaratory Relief)

        67.       GAIC incorporates all of the its foregoing responses to all of the foregoing

allegations as if fully set forth herein.

        68.       GAIC states that the allegations of paragraph 68 assert legal conclusions to which

no response is required.

        69.       GAIC denies that it has any obligation to cover the full amount of the Claim. GAIC

admits that its investigation of Millennium’s claim revealed that Merdis committed his fraud in

the two manners alleged in paragraph 69 of the Complaint.

        70.       GAIC admits the allegations contained in paragraph 70 of the Complaint.




                                                     8
   Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 9 of 13 PAGEID #: 338




       71.     GAIC admits that Millennium did not suffer a loss to the extent that it did not pay

legitimate commissions owed to third-party travel agencies. GAIC denies the remainder of the

allegations contained in paragraph 71 of the Complaint.

       72.     GAIC denies the allegations contained in paragraph 72 of the Complaint.

       73.     GAIC denies the allegations contained in paragraph 73 of the Complaint.

       74.     GAIC denies the allegations contained in paragraph 74 of the Complaint.

       75.     GAIC admits that paragraph 75 purports to quote the Policy, denies the import the

Complaint attaches to it, and refers to the Policy for its contents, meaning and import.

       76.     Paragraph 76 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       77.     Paragraph 77 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       78.     Paragraph 78 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       79.     Paragraph 79 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.

       80.     GAIC admits that it determined that the full amount of Millennium’s claimed loss

was not covered under the Policy. GAIC denies the remainder of the allegations of paragraph 80

of the Complaint.

       81.     Paragraph 81 of the Complaint asserts legal conclusions to which no response is

required. To the extent a response is required, the allegations are denied.




                                                 9
  Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 10 of 13 PAGEID #: 339




           WHEREFORE, defendant Great American Insurance Company respectfully requests that

the Court enter judgment in its favor and dismiss the Complaint herein with prejudice, and provide

such other and relief that the Court deems just, equitable and proper.

                                 FIRST AFFIRMATIVE DEFENSE

           The Complaint fails to state a claim upon which relief can be granted, either in whole or

in part.

                               SECOND AFFIRMATIVE DEFENSE

           Section A of the Policy provides that GAIC will “pay for loss covered by an Insuring

Agreement of this Policy that you sustain resulting directly from acts committed or events

occurring at any time and discovered by you during the Policy Period.” (Emphasis added).

Insuring Agreement 1 of the Policy, in turn provides:

                  We will pay for loss resulting directly from dishonest acts
                  committed by an employee, whether identified or not, acting alone
                  or in collusion with other persons with the manifest intent to:

                          a.     Cause you to sustain a loss; and

                          b.     Obtain an improper benefit for:

                                 (1) the employee; or

                                 (2) any person or organization intended by the
                                 employee to receive that benefit. [Emphasis added]
                                 [bolding in original omitted]

There is no covered “loss” or manifest intent to cause a loss to the extent that Merdis diverted

commissions to himself that were owed to legitimate third-party travel agents whom Millennium

did not pay. Millennium has never provided evidence that it paid those legitimate travel agencies

and has since refused to answer whether it did or did not. Therefore, any “loss” Millennium might

have incurred by virtue of Merdis’s theft is offset by legitimate liabilities of which Millennium

was relieved as a direct result thereof.


                                                   10
  Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 11 of 13 PAGEID #: 340




                              THIRD AFFIRMATIVE DEFENSE

       Section E.18 of the Policy under the caption Records states that: “You must keep records

of all covered property so we can verify the amount of any loss.” Millennium did not meet this

condition with respect to that part of Merdis’s theft that occurred between 2001 and 2007 because

Millennium lacks documentation from which it can be determined whether commissions during

that time period were diverted from legitimate third-party travel agencies or did not involve a

legitimate travel agency. This lack of documentation further prevents Millennium from fulfilling

its common law burden to prove its loss and the quantum of its loss.

                             FOURTH AFFIRMATIVE DEFENSE

       Millennium’s claims are barred by the limitations clause set forth in the Policy, Section

E.11 of the Policy, under the caption “Legal Action Against Us,” which states, in relevant part:

“You may not bring any legal action against us involving loss . . . [u]nless brought within 2 years

from the date you discover the loss.” (“Limitations Clause”). Millennium brought suit more than

two (2) years from the date it discovered the loss as sworn to in its Proof of Loss, it did not ask for

or receive a tolling agreement during that time period, and there are no acts of GAIC that prevented

Millennium from doing so. It is Millennium’s burden to demonstrate that GAIC acted in such a

manner that it cannot rely on the Limitations Clause.

                               FIFTH AFFIRMATIVE DEFENSE

       Millennium’s claims are barred, in whole or in part, by the doctrines of in pari delicto

and/or unclean hands, to the extent that Millennium seeks payment from GAIC for legitimately

earned commissions Millennium owes to third-party travel agencies whom Millennium has not

paid and has no intention of ever paying.




                                                  11
  Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 12 of 13 PAGEID #: 341




                                SIXTH AFFIRMATIVE DEFENSE

          Millennium’s claims are barred on the grounds that Millennium suffered an uncovered

bookkeeping or theoretical loss to the extent that Merdis diverted legitimate commission payments

owed to third-party travel agencies because Millennium has not reimbursed those third-party

agencies.

                              SEVENTH AFFIRMATIVE DEFENSE

          All or part of the Complaint is barred by the indemnity principle of insurance that does not

allow the insureds to obtain a windfall from insurers.

                               EIGHTH AFFIRMATIVE DEFENSE

          All or some of Millennium’s claims are barred by the provisions of the Policy.

                                NINTH AFFIRMATIVE DEFENSE

          All of some of Millennium’s claims are barred by the doctrines of laches, estoppel and

waiver.

                                TENTH AFFIRMATIVE DEFENSE

          Millennium’s tort claims are barred, in whole or in part, by the economic loss rule.

                             ELEVENTH AFFIRMATIVE DEFENSE

          GAIC reserves the right to assert additional affirmative defenses and rely on other

provisions of the Policy as discovery in this matter progresses.




                                                  12
  Case: 1:20-cv-00121-SJD Doc #: 30 Filed: 10/19/20 Page: 13 of 13 PAGEID #: 342




                                                   Respectfully submitted,


                                                   /s/ James Papakirk, Trial Attorney
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                                                   Insurance Company




                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing document was electronically filed on October 19,
2020, and will be served electronically by the court’s CM/ECF system upon all counsel of record.


                                                   /s/ James Papakirk
                                                   James Papakirk (0063862)




                                              13
